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B 210A (Form 210A) (12/09)

                                   UNITED STATES BANKRUPTCY COURT
                                     EASTERN DISTRICT OF VIRGINIA
                                           NORFOLK DIVISION


 IN RE:
 DARIUS HARRIS AND NANCY                                                     CASE NO. 20-70503-SCS
 HARRIS                                                                      CHAPTER 13
                DEBTORS



                           TRANSFER OF CLAIM OTHER THAN FOR SECURITY

A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001 (e)(2), Fed. R. Bankr. P., of the transfer, other than
for security, of the claim referenced in this evidence and notice.


               United Security Financial Corp.                                         United Security Financial Corp.
                    Name of Transferee                                                      Name of Transferor

 Name and Address where notices of transferee should
 be sent:                                                                   Court Claim # (if known): 11
 BSI Financial Services                                                     Amount of Claim: $186,319.95
 1425 Greenway Drive, #400                                                  Date Claim Filed: April 17, 2020
 Irving, TX 75038
 Phone: 866-581-4498                                                        Last Four Digits of Acct#: 3672
 Last Four Digits of Acct #: 3672

Name and Address where transferee payments should be sent (if different from above):
 BSI Financial Services
 314 S. Franklin St., P.O. Box 517
 Titusville, PA 16354
 Phone: 866-581-4498
 Last Four Digits of Acct #: 3672

I declare under penalty of perjury that the information provided in this notice is true and correct to the best
of my knowledge and belief.


 By: s/ M. Christine Maggard                                              Date: April 14, 2021
 Transferee/Transferee’s Agent

     Penalty for making a false statement: Fine of up to $500,000.00 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 & 3571.
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                         UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF VIRGINIA
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 IN RE:
 DARIUS HARRIS AND NANCY                              CASE NO. 20-70503-SCS
 HARRIS                                               CHAPTER 13
                DEBTORS



                                CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that a true and exact copy of the foregoing Transfer Of
Claim Other Than For Security has been electronically served or mailed, postage prepaid on
April 14, 2021 to the following:

DARIUS HARRIS
2613 TURNPIKE RD.
PORTSMOUTH, VA 23707

NANCY HARRIS
2613 TURNPIKE RD.
PORTSMOUTH, VA 23707

Christopher M. Baker, Debtors’ Attorney
272 Bendix Road
Suite 330
Virginia Beach, VA 23452
ecf@bolemanlaw.com

Matthew R. Hahne, Debtors’ Attorney
272 Bendix Road
Suite 330
Virginia Beach, VA 23452
ecf@bolemanlaw.com

Liudmyla N. Mozgova, Debtors’ Attorney
272 Bendix Road
Suite 330
Virginia Beach, VA 23453
ecf@bolemanlaw.com
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Jamie L. Winbury, Debtors’ Attorney
272 Bendix Road
Suite 330
Virginia Beach, VA 23452
ecf@bolemanlaw.com


Michael P. Cotter, Bankruptcy Trustee
Chapter 13 Trustee
870 Greenbrier Circle, Suite 402
Chesapeake, VA 23320

John P. Fitzgerald, III, US Trustee
Office of the U.S. Trustee, Region 4 -N
200 Granby Street, Room 625
Norfolk, VA 23510


                                          /s/ M. Christine Maggard
                                          M. Christine Maggard
                                          (Bar No. 33824)
                                          Attorney for Creditor
                                          BROCK & SCOTT, PLLC
                                          8757 Red Oak Blvd., Suite 150
                                          Charlotte, NC 28217
                                          Telephone: 757-213-2959 x4538
                                          Facsimile: 704-369-0760
                                          E-Mail: christine.maggard@brockandscott.com
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314 S Franklin St. / Second Floor                                                                                                                        03-05-2021
PO Box 517
Titusville, PA 16354                                                                                                                      Sent via First Class Mail
800-327-7861
814-217-1366 Fax
https://myloanweb.com/BSI                                                                                                  Old Account Number:

                                                                                                                             Account Number
                                                                                                                       Property Address: 2613 TURNPIKE RD
                                                                                                                                   PORTSMOUTH VA 23707

     DARIUS HARRIS
     2613 TURNPIKE RD
     PORTSMOUTH VA 23707




                                                      NOTICE OF SERVICING TRANSFER
  The servicing of your mortgage loan is being transferred to BSI Financial Services, effective 03-02-2021. The transfer of servicing does not affect
  any term or condition or the mortgage loan other than terms directly related to the servicing of the loan.

                                                         WHAT THIS MEANS FOR YOU
  After this date, BSI Financial Services will be collecting your mortgage loan payments from you. As referenced above, your loan number may
  have changed; however, nothing else about your mortgage loan will change.

  ROUNDPOINT MORTGAGE SERVICING, your prior servicer, was collecting your payments. ROUNDPOINT MORTGAGE SERVICING will not accept
  any payments received by you after the day preceding 03-02-2021, at which point BSI Financial Services, as your new servicer, will start
  accepting payments received from you going forward.

  Customers can send all payments due on or after 03-02-2021, to BSI Financial Services at this address:

  Via First Class Mail                                                               Via Priority or Overnight Mail
  BSI Financial Services                                                             BSI Financial Services
  PO Box 679002                                                                      Lockbox Number 679002
  Dallas, TX 75267-9002                                                              1200 E. Campbell Rd. Ste. 108
                                                                                     Richardson, TX 75081

  If you have any questions for either your prior servicer, ROUNDPOINT MORTGAGE SERVICING, or your new servicer, BSI Financial Services,
  about your mortgage loan or this transfer, please contact them using the information below:

  Prior Servicer                                                                     New Servicer
  ROUNDPOINT MORTGAGE SERVICING                                                      BSI Financial Services
  Customer Care                                                                      Customer Care
  PO BOX 19409                                                                       314 S Franklin St, 2nd Floor
  CHARLOTTE NC 28219                                                                 Titusville, PA 16354
  877-426-8805                                                                       800-327-7861

  Under Federal law, during the 60-day period beginning on the effective date of the transfer of the loan, a loan payment received by your old
  servicer on or before its due date (including any grace period allowed under the mortgage loan instruments) may not be treated by the new
  servicer as late, and a late fee may not be imposed on you.




  Licensed as Servis One, Inc. dba BSI Financial Services BSI Financial Services BSI NMLS # 38078
  Customer Care Hours: Mon. - Fri. 8:00 am to 11:00 pm (ET) and Sat. 8:00 am to 12:00 pm (ET).
  If you have filed a bankruptcy petition and there is an "automatic stay" in effect in your bankruptcy case or you have received a discharge of your personal
  liability for the obligation identified in this letter, we may not and do not intend to pursue collection of that obligation from you personally. If either of these
  circumstances apply, this notice is not and should not be construed to be a demand for payment from you personally. Unless the Bankruptcy Court has ordered
  otherwise, please also note that despite any such bankruptcy filing, whatever rights we hold in the property that secures the obligation remain unimpaired.
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Automatic Withdrawal Customers:
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                                          If your payments are currently set for automatic withdrawal from your checking or savings account,
ROUNDPOINT MORTGAGE SERVICING will discontinue the auto-withdrawal service on 03-01-2021.

Next Steps: Please be sure to send a check to BSI Financial Services for your next payment along with the enclosed temporary coupon. If you
would like to continue having your payments automatically withdrawn, BSI Financial Services would be happy to set you up on our Automatic
Withdrawal Program (ACH). Please complete the attached Automatic Clearing House (ACH) Application and return to BSI Financial Services via
fax or mail as outlined in the application. If you need assistance in completing the application, please contact our Customer Care department at
800-327-7861.

You will be receiving a monthly statement in the mail from BSI Financial Services. The following payment options are available to make your
mortgage payment: regular mail, expedited or overnight mail such as UPS or FedEx at the addresses provided above; complete the attached
Automatic Clearinghouse Application to participate in ACH weekly, bi-weekly, or monthly; schedule a one-time or recurring payment via
https://myloanweb.com/BSI; Pay by Phone by calling 800-327-7861; and, and Western Union using the city code “BSI” and the state “PA”.

We look forward to servicing your loan. Please contact us at 800-327-7861 with any questions or concerns.

Sincerely,
Customer Care Department
BSI Financial Services
NMLS # 38078;

* This is an attempt to collect a debt. Any information obtained will be used for that purpose.

Important note about insurance: If you have mortgage life or disability insurance or any other type of optional insurance, the transfer of
servicing rights may not affect your insurance because we do not service mortgage life or disability premiums. However, if you wish to retain
optional insurance, we would suggest that you contact your current optional product service provider.




                                       Qualified Written Request - Notice of Error or Information Request

Under the Real Estate Settlement Procedures Act, a qualified written request is a written correspondence (other than notice on your payment coupon or
other payment medium supplied by us) regarding the servicing of your loan which identifies your name, account number, and the specific reasons for the
request, such as an error on your loan account or a request for information. Any qualified written request you wish to submit must be sent to:

                                                                   BSI Financial Services
                                                             Attn: Qualified Written Requests
                                                            314 S Franklin Street / Second Floor
                                                                    Titusville, PA 16354




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If you have filed a bankruptcy petition and there is an "automatic stay" in effect in your bankruptcy case or you have received a discharge of your personal
liability for the obligation identified in this letter, we may not and do not intend to pursue collection of that obligation from you personally. If either of these
circumstances apply, this notice is not and should not be construed to be a demand for payment from you personally. Unless the Bankruptcy Court has ordered
otherwise, please also note that despite any such bankruptcy filing, whatever rights we hold in the property that secures the obligation remain unimpaired.
